                 Case 22-10584-CTG             Doc 1045        Filed 11/21/23        Page 1 of 2




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


    In                                                 Chapter 11
    re:
                                                       Case No. 22-10584 (CTG)

                                                       (Jointly Administered)
    FIRST GUARANTY MORTGAGE
    CORPORATION, et al.,1                              Ref. Docket No. 1022

                  Liquidating Debtors.

                     ORDER EXTENDING DEADLINE TO OBJECT TO CLAIMS

          Upon consideration of the Second Motion to Extend Deadline to Object to Claims (the

“Motion”), and it appearing that good cause exists to grant the relief requested by the Motion, it is

HEREBY ORDERED THAT:

          1.       The Motion is granted as set forth herein.

          2.       The time period to file and serve objections to claims in these Chapter 11 Cases (the

“Claims Objection Deadline”) is extended through and including December 31, 2023, without

prejudice to the rights of the Liquidating Trustee to request further extensions of the Claims Objection

Deadline.

          3.       All time periods set forth in this Order shall be calculated in accordance with Bankruptcy

Rule 9006(a).




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number in the
jurisdiction were: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location of
the corporate headquarters and the service address for First Guaranty Mortgage Corporation is 5800 Tennyson Parkway,
Suite 450, Plano, TX 75024.
DE:4892-1498-2030.2 28311.001                             2
US_ACTIVE\125189994\V-2
                 Case 22-10584-CTG         Doc 1045     Filed 11/21/23     Page 2 of 2

         4.        This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.




 Dated: November 21st, 2023                         CRAIG T. GOLDBLATT
 Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




DE:4892-1498-2030.2 28311.001                       3
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